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              EXHIBIT H
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                                              FIRM BIOGRAPHY

         London-based Stewarts Law (“Stewarts Law” or the “Firm”), with over 100 lawyers in

 London, Leeds, New York and Delaware, is the UK’s largest litigation-only firm. The Firm acts

 for corporate, institutional investor and individual clients and has leading and specialist

 departments in antitrust litigation, aviation and travel, clinical negligence, commercial litigation,

 divorce and family, employment, investor protection litigation and personal injury.

         Stewarts Law operates as Stewarts Law LLP in the United Kingdom and as Stewarts Law

 US LLP in the United States. The Firm is top ranked in both the Legal 500 and Chambers, the

 leading guides to the legal profession. Stewarts Law is recognized by clients and peers alike as

 one of the top international litigation firms:

            •    Top-ranked in both the Legal 500 and Chambers UK.

            •    Winner, Niche Law Firm of the Year, 2009 (The Lawyer Awards).

            •    Winner, Best Managed Firm, 2010 Managing Partners Forum European Practice
                 Management Awards.

            •    Winner, Niche Law Firm of the Year (Leeds Office), 2010 Yorkshire Lawyer
                 Awards.

            •    Described by the Legal 500 as “the preeminent firm in this country dealing with
                 personal injury/fatal accident claims from aviation accidents.”

            •    Noted by Chambers and Partners as “the firm of choice for countless wealthy City
                 professional, entertainment and sports industry clients looking for advice and
                 representation in complex divorce proceedings.”
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 Recent and current cases of note include:

               The Sisters of Charity of Jesus and Mercy (and others) v. Morgan Stanley, Case
               No. 2010/960 (High Court of Justice, Queen's Bench Division, London), related to
               the fall-out from the sale of complex derivative products to investors in Ireland,
               including the Sisters’ loss of €5 million due to Morgan Stanley’s improper actions.

               In re: Facebook Internet Tracking Litigation, No. 5:12-md-2314-EJD (N.D. Cal.),
               a digital privacy class action seeking $15 billion on behalf of Facebook users whose
               internet use was allegedly tracked illegally and secretly by Facebook; Stewarts Law
               was appointed interim co-lead counsel for the class by the Court in May, 2012.

               Attrill (and others) v. Dresdner Kleinwort Ltd. and Commerzbank AG (High Court
               of Justice, London), a ground-breaking action against a German bank on behalf of
               employees for €50 million. Stewarts Law secured a complete victory for the
               employees in what the Lawyer Magazine called one of the most significant cases of
               2012.

               In re: Advance America, Cash Advance Centers, Inc. Shareholders Litigation,
               Consol. C.A. No. 7255-VCP (Del. Chancery), a shareholder class action on behalf of
               investors in a Delaware corporation being purchased by a Mexican rival for
               approximately $780 million. Stewarts Law was appointed by Vice Chancellor
               Parsons as Delaware Liaison Counsel for the class in May, 2012. (Settlement
               pending approval by the Court of Chancery).

               Hull City Football Club v. Duffen (High Court of Justice, London): Stewarts Law is
               representing the Football Club against its former chairman for the misuse of the
               team’s expenses and improper payments to football agents.

               In re: Molycorp, Inc. Shareholder Derivative Litigation, Consol. C.A. No. 7282-
               VCN (Del. Chancery): Vice Chancellor Noble appointed Stewarts Law as co-lead
               counsel in June, 2012 in a derivative action against the board of directors of
               Molycorp, Inc., related to an alleged scheme that may have netted insiders in excess
               of $1 billion of profit at the expense of the company.

               Marylebone PCC Limted -- Rose 2 Fund v. Millennium Global Investments, Ltd.,
               et al., 12-cv-3835-PAC (S.D.N.Y.): Stewarts Law is acting as co-counsel for a
               Guernsey-based investor in a proposed class action on behalf of investors in a hedge
               fund family consisting of a Delaware fund and two offshore funds in receivership in
               Bermuda. The defendant fund manager was arrested in New York in December,
               2011 for criminal securities fraud with respect to his management of the fund, which
               resulted in the loss of $800 million.
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               LoanHD, Inc. v. Elliot Bay Associates, Inc., C.A. No. 6745-VCG (Del. Chancery),
               lawyers at Stewarts Law successfully prosecuted a Section 225 action in 2011 under
               the Delaware Corporate Code for control of the corporation’s Board and to declare
               that a CEO had been validly removed.

               In re: Harbinger Capital Partners Funds Investor Litig., No. 1:12-cv-01244-AJN
               (S.D.N.Y.): Stewarts Law is acting as class counsel in a proposed class and
               derivative action against Philip Falcone and other managers of six Harbinger hedge
               funds (three Delaware funds and three Cayman Islands funds), seeking damages of
               approximately $3 billion.

               In re: Par Pharmaceutical Companies, Inc. Litig., C.A. No. 7715-VCP (Del.
               Chancery): Stewarts Law was appointed in August, 2012 as liaison counsel for the
               class in a shareholder class action challenging a private equity buy-out of a Delaware
               corporation.

 Stewarts Law’s Wilmington, Delaware Office

        Stewarts Law launched its Wilmington office on May 1, 2012, and Wilmington is the

 home of the Firm’s new Investor Protection Litigation department. The department represents

 individual and institutional investors in securities class actions and individual cases, mergers and

 acquisitions (M&A) and fiduciary duty litigation, shareholder derivative actions and hedge

 fund/alternative entity litigation. The department, with offices in both the US and UK, is

 uniquely placed to meet the global litigation needs of international investor clients in American,

 English and European courts. The Wilmington office also handles all other US litigation needs,

 including complex consumer and digital privacy class action litigation.

        Stewarts Law lawyers have represented some of the largest international investors in the

 United States and Europe in all aspects of investor protection litigation and have been involved

 in a number of leading and ground-breaking cases, and the Firm is uniquely positioned to litigate

 cases on both sides of the Atlantic. The Firm’s lawyers have a national and international

 reputation in US class action cases, individual actions and UK securities litigation.
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 The Wilmington Team

        David A. Straite works in the Firm’s New York and Wilmington offices, and is the Head

 of Investor Protection Litigation at Stewarts Law. He has represented some of the largest

 investors in the United States and Europe in all aspects of corporate governance and shareholder

 derivative actions, hedge fund disputes and securities actions. He has also advised investors and

 multinational corporations during HSR and CFIUS pre-merger reviews, and represents

 consumers in digital privacy actions. He has appeared on BBC World News, Sky News and

 Channel 10 (Tel Aviv, Israel) in connection with his work at Stewarts Law, and recently

 conducted a 30-minute podcast on the “Digital Detectives” show on the Legal Talk Network,

 focusing on current digital privacy litigation and the future of digital privacy rights.

        David has worked as an Associate in the antitrust department of the New York office of

 Skadden Arps Slate Meagher & Flom LLP, and also practiced in the Delaware office of Grant &

 Eisenhofer P.A. focusing on investor protection litigation. Before joining Stewarts Law US LLP

 he co-founded Wilmington-based Sianni & Straite LLP with Ralph Sianni.

        David is a 1996 magna cum laude graduate of the Villanova University School of Law.

 David is also a 1993 graduate of the Murphy Institute of Political Economy at Tulane University

 in New Orleans.

        David is a member of the Delaware State Bar Association, the ABA Section of

 International Law (Europe Committee, and International Securities and Capital Markets

 Committee) and ABA Section of Litigation, and the Royal Society of St George, Delaware

 Chapter. David is admitted to practice in New York, Delaware, Pennsylvania, New Jersey and

 Washington D.C., and several federal courts, including the District of Delaware.
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        Ralph N. Sianni is based in the firm’s Delaware office and is the Managing Partner of

 Stewarts Law US LLP. He has extensive experience in representing shareholders and investors

 in cases involving complex mergers and acquisitions, accounting fraud and stock option

 backdating. Ralph is also experienced in matters of Delaware corporate law.

        Before entering private practice Ralph served as a law clerk to the Hon. Stephen J

 McEwen, Jr., President Judge of the Pennsylvania Superior Court.           Upon entering private

 practice Ralph practised at leading investor protection litigation firms including Grant &

 Eisenhofer P.A. Before joining Stewarts Law US LLP, he co-founded Sianni & Straite LLP with

 David Straite.

        Ralph earned his law degree from the Boston University School of Law where he served

 as Editor of the Boston University Public Law Journal. He also earned an MA in history from

 Yale University and a BA in history from the University of Pennsylvania.

        Ralph is a member of the Delaware State Bar Association, the New York State Bar

 Association, the Federalist Society, the Supreme Court Historical Society, the St. Thomas More

 Society, the Justinian Society and the Royal Society of St George, Delaware Chapter. He is

 admitted to practice in New York, Delaware, Pennsylvania, Washington, D.C. and several

 federal district courts (including the District of Delaware) and the United States Supreme Court.

        Michele S. Carino is Senior Counsel at Stewarts Law, based in the firm’s Delaware

 office. She has managed a wide range of investor protection litigation including securities class

 actions, individual and opt-out securities litigation and expedited shareholder and corporate

 governance litigation in the Delaware Court of Chancery. Additionally, Michele has extensive

 deposition experience of high-ranking deponents, including officers, directors and investment
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 bankers and has expertise in all aspects of discovery and motion practice. She has assisted on a

 number of high value and complex cases in Delaware and New York.

        Michele has worked as a litigation associate in the New York office of Jones Day, and

 later the New York office of Stroock & Stroock & Lavan LLP where she obtained experience in

 all areas of complex commercial litigation. Before joining Stewarts Law US LLP, Michele was

 Senior Counsel to Grant & Eisenhofer P.A. in Delaware.

        Michele is a 1999 magna cum laude graduate of Georgetown University Law Center in

 Washington D.C., and a 1992 Economics graduate from the State University of New York.

 Michele is a member of the Bars of the State of Delaware, the State of New York, and the

 District of Delaware.

        Lydia York is a Staff Attorney and the Office Manager for the US Offices and is a

 licensed accountant in the US (CPA). She has assisted with the start-up of several companies,

 and has held positions over the years as an investment analyst, financial consultant, staff

 accountant and director of operations and treasurer. After deciding to become a lawyer, Lydia

 clerked for the U.S. Attorney’s Office, Eastern District of Pennsylvania, where she helped to

 prosecute criminal nursing home abuse and drug offense cases. She has also clerked for the Hon.

 Philip Lewis Paley in New Jersey, and is currently a Member of the Vestry at St. Barnabas

 Church in Mill Creek, Delaware.

        Lydia has an MBA (Finance) from the University of Pennsylvania’s Wharton School and

 has two law degrees from Temple University in Philadelphia (J.D. and L.L.M. in Taxation).

 Lydia is a member of the Bar of the States of Delaware, New Jersey, and Pennsylvania, and the

 District of Delaware.
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           Noah R. Wortman is the Director of Case Development for the Investor Protection

 Litigation Department, and has more than a decade of experience helping to find litigation

 solutions for investors and providing invaluable research support for attorneys. He is also senior

 paralegal for the US offices. Noah has worked at investor protection law firms where he has

 helped to build and maintain client relationships. He is resident in the Delaware office and

 works in both Delaware and New York.

           Noah was a paralegal in the New York office of Skadden, Arps, Slate, Meagher & Flom

 LLP, worked in the Business Development department for four years at Kessler Topaz Meltzer

 & Check LLP and was the Case Development Director for more than five years in the

 Wilmington office of Rigrodsky & Long, P.A.

           Noah attended the Albert A. List College of the Jewish Theological Seminary of America

 and Columbia University in New York where he majored in Bible and Political Science. Noah

 is a non-attorney member of the American Bar Association and the Philadelphia Bar Association.




  Stewarts Law US LLP is a limited liability partnership established in the State of Delaware with file no. 5117984 and with offices at
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  Stewarts Law US LLP is affiliated with Stewarts Law LLP which is a practice of solicitors authorised and regulated by the Solicitors
     Regulation Authority in England. Stewarts Law US LLP is not regulated or authorised by the Solicitors Regulation Authority.
